              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT




                  DAVID ANTHONY VASQUEZ-MALAVE,

                                 Appellant,

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.


                             No. 2D2022-2325



                              August 21, 2024

Appeal from the Circuit Court for Hillsborough County; Samantha L.
Ward, Judge.

Howard L. Dimmig, II, Public Defender, and Daniel Wehking, Special
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Clara V. Murga,
Assistant Attorney General, Tampa, for Appellee.


PER CURIAM.

      Affirmed.

SILBERMAN, LaROSE, and BLACK, JJ., Concur.


Opinion subject to revision prior to official publication.
